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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS



DUSA PHARMACEUTICALS, INC.

                   Plaintiff
                                                       Civil Action No. 1:18-cv-10568-RGS
       v.

BIOFRONTERA INC., BIOFRONTERA
BIOSCIENCE GMBH, BIOFRONTERA
PHARMA GMBH, BIOFRONTERA
DEVELOPMENT GMBH,
BIOFRONTERA NEUROSCIENCE
GMBH, AND BIOFRONTERA AG,

                   Defendants.


                               JOINT NOTICE OF SETTLEMENT

       The Parties have reached a fully-executed and binding agreement resolving their dispute

based on a confidential settlement agreement. The Parties expect to finalize and consummate the

relevant details within 30 days, which will include a joint motion to dismiss with prejudice and a

request for the Court to retain its jurisdiction to enforce the Parties’ agreement.

       Accordingly, the Parties respectfully request that the Court enter a settlement order of

dismissal, providing that this action will be dismissed with prejudice in 30 days so long as the

settlement is consummated.

       The Parties thank the Court and its staff for all of their efforts in overseeing this

litigation over the past nearly four years.
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Dated: November 29, 2021                        Respectfully submitted,


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